      Case 3:22-cv-00636-B-BN Document 6-1 Filed 04/04/22                                 Page 1 of 4 PageID 47

April 4, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5118 9956 1049 0860 07.

Item Details

Status:                                                 Delivered, PO Box
Status Date / Time:                                     March 25, 2022, 7:04 pm
Location:                                               IRVING, TX 75038
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         John M Allen USCIS Texas Service Center
Shipment Details

Weight:                                                 3.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-00636-B-BN Document 6-1 Filed 04/04/22                                 Page 2 of 4 PageID 48

April 4, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5118 9956 1049 0646 54.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     March 25, 2022, 12:28 pm
Location:                                               DALLAS, TX 75202
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         U S Attorney Chad E Meacham 3rd Floor
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-00636-B-BN Document 6-1 Filed 04/04/22                                 Page 3 of 4 PageID 49

April 4, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5118 9956 1049 0222 27.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     March 29, 2022, 12:39 pm
Location:                                               WASHINGTON, DC 20529
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         Ur Mendoza Jaddou
Shipment Details

Weight:                                                 5.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-00636-B-BN Document 6-1 Filed 04/04/22                                 Page 4 of 4 PageID 50

April 4, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5118 9956 1049 0667 57.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     March 30, 2022, 4:47 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
